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        EXHIBIT A
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(12) United States Patent                                                                                 (10) Patent No.:                   US 7,721.222 B1
       Shaik                                                                                              (45) Date of Patent:                      May 18, 2010
(54) DYNAMIC LANGUAGE TEXT GENERATION                                                                       7,257.528 B1* 8/2007 Ritchie et al. .................. 7O4/7
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(76) Inventor: Cheman Shaik, 102 Sattar Residency,                                                      2006:56: R 163. Eid."            C
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(22) Filed:            Jun. 10, 2009                                                                    2006,0007157 A1*      1 2006 Li et al. ..              ... 345,168
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(51) Int. Cl.                                                                                           2007/00 16572 A1      1/2007 Bates et al. .................... 707/5
        G06F 3/048                      (2006.01)                                                                                  Continued
(52) U.S. Cl. ....................... 715/773; 715/703; 715/810;                                                                   (Continued)
(58) Field of Classification Search ................. 715/703,                                       Assistant Examiner Tuyetlien T Tran
            715/773, 810–827, 843, 234; 34.5/156; 3/703,                                             (74) Attorney, Agent, or Firm Walter J. Tencza, Jr.
                                     3/773, 810 827, 843, 234
        See application file for complete search history.                                            (57)                      ABSTRACT
(56)                        References Cited                                                         A non-English text generation system and method is pre
                   U.S. PATENT DOCUMENTS                                                             sented by which text can be generated in any language with
                   A     2, 1985 Strzelecki ................... 715,263
                                                                                                     out a keyboard. Initially, only a few base characters or radicals
       4,498,143                                                                                     of a language are displayed. A desired character or derivative
       4,502,128   A     2, 1985 Okajima ........................ TO4/8
       5,319,386   A     6, 1994 Gunn ......                                      ... 345,173        symbol is reached by lookup through Successive menus.
       5,410,306   A     4, 1995 Ye .............................. 341 (28                           When a desired character or symbol is reached, it can be
       6,002,390   A * 12, 1999 Masui ........................ 345,173                               displayed on a computer monitor using a computer mouse or
       6,011,546   A     1, 2000 Bertram ...................... 345,327                              a similar interactive device. This system and method can be
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       6,388,686   B1    5, 2002 Hetherington .............. 345,810                                 has significant utility in internet searching, authentication,
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       6,809,725   B1 * 10, 2004 Zhang                                            ... 345,171        online advertisement creation, form filling in e-commerce
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                                                                                                     etc., in non-English languages.
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                                   Fig. 1


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                              Computer Monfor
                                                        O4                     108


                              Computer Processor                 Computer interOctive
   COmmunicOrtions                                               Device
   POrt
                                                            O6
                              Computer Memory
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                                   Fig. 2A
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                                    Fig. 2C
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       212b 21.2d   212f 22h        12 22k 212m       22O   212d 22s    212u
Case 1:18-cv-00593-RGA Document 1-1 Filed 04/19/18 Page 8 of 44 PageID #: 32


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                                      Fig. 2D

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      214b 24d   214f 24h                          24m 21       214a                      214
                                        24                             214S
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                                  Fig. 2E
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                                    Fig. 2F



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                                    Fig. 3A




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                                    Fig. 3B
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                                    Fig. 3C                       3OOC


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                                    Fig.3E                 3OOe




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                                                412C 41.2e
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            416b 416d 415f 415h 416 416 416n 416p
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                                       422g 422f
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                                    Fig. 4F




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                                      Fig. 6                         600

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                                    Fig. 10                1OOO




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                                                       US 7,721.222 B1
                               1.                                                                       2
     DYNAMIC LANGUAGE TEXT GENERATION                                    guage and may not even have their equivalents in English.
            SYSTEMAND METHOD                                             Some times an English word may have more than one equiva
                                                                         lent in other languages.
               FIELD OF THE INVENTION                                       There are also some websites providing virtual keyboards
                                                                         for generating text in non-English languages. For example,
  This invention relates to improved methods and apparatus               www.guruji.com is one such website providing a virtual key
concerning the generation of language text or characters.                board in the Telugu language at the url http://www.guruji
                                                                         .com/te/index.html. However, the virtual key board of this
          BACKGROUND OF THE INVENTION                                    prior art web site requires as many as six mouse clicks to
                                                                    10   generate a triple-consonant conjunct character in the Telugu
   Generating text in non-English languages is a challenging             language, which is a tedious job for a user. Another website,
task, especially for Asian languages such as Chinese, Japa               at the url http://www.search.webdunia.com/telugu.html, also
nese, Korean, That, Lao, Thaana, and Indian. Particularly in             provides a virtual keyboard which requires many mouse
online HTML (HyperText Markup Language) forms, text                      clicks to generate a triple-consonant conjunct character in the
generation for the aforementioned languages makes the page          15   Telugu language.
size too big to be accessed via the Internet as it requires                 A url on the web http://www.lookera.com/base/keyboards/
several thousand characters to be defined in the HTML code.              chinese-keyboard.php provides a virtual key board in the
For example, Hindi, the national language of India, has more             Chinese language. However, it requires multiple mouse clicks
than one million characters that can be generated by several             and page Scrolls to generate a typical Chinese character. Also,
combinations of conjunct consonants, vowel signs and modi                a couple of urls on the web http://www.gate2home.com/ and
fiers.                                                                   http://www.virtualkeyboard.ws/provide virtual keyboards in
   On the other hand, Chinese, which is a symbolic language,             different languages, but these keyboards do not enable to
has several thousand symbols. These symbols are derivatives              generate characters with single mouse clicks in non-English
of the 214 Chinese base radicals. The derivative patterns are            languages such as Chinese, Japanese, Korean etc.
not the same for all the base radicals, unlike the vowel patterns   25
of Indian languages. Incorporating these myriad conjunct                              SUMMARY OF THE INVENTION
characters or derivative symbols in a web page makes the
page too large and impractical to be loaded from a web server               One or more embodiments of the present invention relate to
to its client via the Internet, taking several minutes to hours.         a text generation system and method in non-English lan
   Another interesting observation is that Japanese has three       30   guages using Dynamic Language Menu Pads (DLMP), which
alphabets, Hiragana, Katakana and Kanji. While Hiragana is               can be used for internet searching, e-mail, chat, web-based
used for writing the native Japanese words. Katakana is used             authentication, document preparation, electronic form filling,
for writing foreign names and words. Kanji is a character set            online advertisement creation, wireless messaging, blogging,
imported from the Chinese language. A typical Japanese text              commenting on Social networks etc. One or more embodi
is written using all the three alphabets.                           35   ments of the present invention eliminate dependency on lan
   Text generation in non-English languages is necessary to              guage specific keyboards, fonts, separate client installations,
search web pages in those languages on the Internet and                  tool downloads, shortcut key settings etc. In one or more
intranet. There are several web sites on the Internet in non             embodiments, text can be generated in any language just
English languages, especially Chinese, Japanese, Korean,                 through mouse clicks or user actions through a computer
Arabic, Russian, European and Indian languages.                     40   interactive device.
   Some websites on the Internet enable visitors to generate               One or more embodiments of the present invention provide
non-English text through transliteration (See a transliteration          an easy and practical approach to generating non-English text
facility in the Telugu language on the web at url http://old             by generating letters of a non-English language using the
..quilpad.in/telugu/). Transliteration is the technique of tran          desired language’s own alphabet or symbols through
scribing a word or text written in English into another lan         45   dynamic generation of characters. This approach will avoid
guage. Often transliteration for Indian languages generates              multiple mouse clicks, page Scrolls, ambiguities, dependency
inaccurate text and requires a lot of trial and error adjustments        on English, and the requirement of a huge database of words
due to ambiguities in character mapping between English and              for different languages and their English mappings for trans
the target language. For example, Tamil, a South Indian lan              lation.
guage has three characters that map to the English letter L.        50      In at least one or more embodiments of the present inven
Similarly, there are three characters in Tamil representing the          tion a method is provided including displaying on a computer
English letter N.                                                        monitor a first set of a plurality of character menu items. Each
   Indian languages have more consonants than English,                   character menu item of the first set of the plurality of character
resulting in ambiguities in mapping. Also, the Vowel signs in            menu items has a character of a language, such as a written
Indian languages cannot be produced exactly with English            55   language. Each character menu item of the first set of the
Vowel combinations unless a transliteration guide on a web               plurality of character menu items is displayed in a first loca
site is thoroughly studied.                                              tion on the computer monitor. The method may further
   Another drawback with transliteration is its implementa               include receiving a first user selection of a first character
tion is very difficult and inaccurate for Mandarin Chinese and           menu item of the first set of the plurality of character menu
the Kanji part of Japanese as these scripts are not alphabet        60   items, wherein the first user selection is received via a com
based but symbol based. In Chinese and Japanese Kanji, each              puter interactive device, and displaying a character of the
symbol represents a word or a set of words.                              language of the first character menu item in a second location
   Another means of generating non-English text is transla               on the computer monitor in response to receiving the first user
tion, wherein words typed in English are translated into the             selection.
desired language. However, translation has its own limita           65      The first set of the plurality of character menu items may be
tions. It is not useful for those who are not proficient enough          displayed in a row in the first location of the computer moni
in English. Some words may be native to a particular lan                 tor. The language may be a non-English language. Each of the
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                               3                                                                          4
character menu items of the first set of the plurality of char               Each of the character menu items may be any one of an
acter menu items may have any one of a consonant character,                html table cell, a button, and a graphic user interface compo
a vowel, a base radical, a symbol, a lower case letter, an                 nent. A method in accordance with embodiments of the
alphabet name, a digit, a block number, and a punctuation                  present invention may include using the character of the lan
character of the language.                                                 guage of the first character menu item for any one of search
   In another embodiment of the present invention a methodis               ing on the internet, sending email, chatting, commenting on
provided including displaying on a computer monitor a first                Social networks, blogging, online advertisement creation, and
set of a plurality of character menu items, wherein each                   document creation.
character menu item of the first set of the plurality of character           Each of the character menu items of the first set of the
menu items has a character of a language. Each character              10   plurality of character menu items may have any one of a
menu item of the first set of the plurality of character menu              consonant character, a vowel, a base radical, a first symbol, a
items may be displayed in a first location on the computer                 lower case letter, an alphabet name, a digit, a block number,
monitor. The method may further include receiving a first user             and a punctuation character of the language. Each of the
selection of a first character menu item of the first set of the           character menu items of the second set of the plurality of
plurality of character menu items, wherein the first user selec       15   character menu items may have one of either: a vowel deriva
tion is received via a computer interactive device. In response            tive of a consonant character, if the first character menu item
to the first user selection, a second set of the plurality of              of the first set of the plurality of character menu items has a
character menu items may be displayed on the computer                      consonant character, a Successive vowel of a vowel if the first
monitor. The second set of the plurality of character menu                 character menu item of the first set of the plurality of character
items are related to the first character menu item, wherein                menu items has a vowel, a Successive base radical of a base
each character menu item of the second set of the plurality of             radical, if the first character menu item of the first set of the
character menu items has a character of the language. Each                 plurality of character menu items has a base radical, an upper
character menu item of the second set of the plurality of                  case letter of a lower case letter, if the first character menu
character menu items may be displayed in a second location                 item of the first set of the plurality of character menu items has
on the computer monitor.                                              25   a lower case letter, a vowel or consonant, if the first character
  The method may further include receiving a second user                   menu item of the first set of the plurality of character menu
selection of a second character menu item of the second set of             items has an alphabet name, and—a symbol tied to a block
the plurality of character menu items, wherein the second user             number, if the first character menu item of the first set of the
selection is received via a computer interactive device. In                plurality of character menu items has a block number.
response to the second user selection, a third set of the plu         30     Each of the character menu items of the third set of the
rality of character menu items may be displayed on the com                 plurality of character menu items may have any one of a
puter monitor, wherein the plurality of character menu items               double-consonant conjunct, a derivative symbol of the radi
of the third set of the plurality of character menu items are              cal, a successive vowel of the vowel, and avowel derivative of
related to the second character menu item. Each character                  the consonant, of the character of the second character menu
menu item of the third set of the plurality of character menu         35   item. Each of the character menu items of the fourth set of the
items may have a character of the language. Each character                 plurality of character menu items may have any one of a
menu item of the third set of the plurality of character menu              triple-consonant conjunct of the third character menu item,
items may be displayed in a third location on the computer                 and a derivative symbol of the radical of the second character
monitor.                                                                   menu item.
  The method may further include receiving a third user               40
selection of a third character menu item of the third set of the                  BRIEF DESCRIPTION OF THE DRAWINGS
plurality of character menu items, wherein the third user
selection is received via a computer interactive device. In                   FIG. 1 shows an apparatus for use in accordance with an
response to the third user selection, a fourth set of the plurality        embodiment of the present invention;
of character menu items may be displayed on the computer              45
                                                                              FIG. 2A shows a first image, menu, or interface, which can
monitor, wherein the character menu items of the fourth set of             be displayed on a computer monitor in accordance with an
the plurality of character menu items are related to the third             embodiment of the present invention, wherein the first image
character menu item. Each character menu item of the fourth                concerns processing of the Telugu language (a language spo
set of the plurality of character menu items may be a character            ken in India and one of the official and classical languages of
of the language. The character menu item of the fourth set of         50
                                                                           India);
the plurality of character menu items may be displayed in a                   FIG. 2B shows a second image, menu, or interface, which
fourth location on the computer monitor.                                   can be displayed on a computer monitor in accordance with
   The first user selection may be received from any one of a              an embodiment of the present invention, wherein the second
computer mouse, a computer touch screen, a finger pad of a                 image concerns processing of the Telugu language;
laptop computer, and a computer keyboard. The first user              55
selection may be received via a computer mobile device or a                   FIG.2C shows a third image, menu, or interface, which can
computer stylus on a computer mobile device. The first set of              be displayed on a computer monitor in accordance with an
the plurality of character menu items may be displayed in a                embodiment of the present invention, wherein the third image
row in the first location of the computer monitor. The second              concerns processing of the Telugu language;
set of the plurality of character menu items may be displayed         60      FIG. 2D shows a fourth image, menu, or interface, which
in any one of a column, a row, and a block in the second                   can be displayed on a computer monitor in accordance with
location of the computer monitor. The third set of the plurality           an embodiment of the present invention, wherein the fourth
of character menu items may be displayed in any one of a                   image concerns processing of the Telugu language;
column, a row, and a block in the third location of the com                   FIG.2E shows a fifth image, menu, or interface, which can
puter monitor. The fourth set of the plurality of character           65   be displayed on a computer monitor in accordance with an
menu items may be displayed in any one of a row, and a block               embodiment of the present invention, wherein the fifth image
in the fourth location of the computer monitor.                            concerns processing of the Telugu language;
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   FIG.2F shows a sixth image, menu, or interface, which can            FIG. 7 shows a twenty-first image, menu, or interface,
be displayed on a computer monitor in accordance with an             which can be displayed on a computer monitor in accordance
embodiment of the present invention, wherein the sixth image         with an embodiment of the present invention, wherein the
concerns processing of the Telugu language.                          twenty-first image concerns processing of the Hebrew lan
   FIG. 2G shows an image, menu, or interface, which can be          gllage.
displayed on a computer monitor in accordance with an                  FIG. 8 shows a twenty-second image, menu, or interface,
embodiment of the present invention, wherein the image of            which can be displayed on a computer monitor in accordance
FIG. 2G concerns processing of the Telugu language;                  with an embodiment of the present invention, wherein the
   FIG. 3A shows a seventh image, menu, or interface, which          twenty-second image concerns processing of the That lan
can be displayed on a computer monitor in accordance with       10   gllage.
an embodiment of the present invention, wherein the seventh             FIG. 9 shows a twenty-third image, menu, or interface,
image concerns processing of the Chinese language;                   which can be displayed on a computer monitor in accordance
   FIG. 3B shows an eighth image, menu, or interface, which          with an embodiment of the present invention, wherein the
can be displayed on a computer monitor in accordance with            twenty-third image concerns processing of the French lan
an embodiment of the present invention, wherein the eighth      15   gllage.
image concerns processing of the Chinese language;                      FIG. 10 shows a twenty-fourth image, menu, or interface,
   FIG. 3C shows a ninth image, menu, or interface, which            which can be displayed on a computer monitor in accordance
can be displayed on a computer monitor in accordance with            with an embodiment of the present invention, wherein the
an embodiment of the present invention, wherein the ninth            twenty-fourth image concerns processing of the Greek lan
image concerns processing of the Chinese language;                   guage; and
   FIG. 3D shows a tenth image, menu, or interface, which               FIG. 11 shows a twenty-fifth image, menu, or interface,
can be displayed on a computer monitor in accordance with            which can be displayed on a computer monitor in accordance
an embodiment of the present invention, wherein the tenth            with an embodiment of the present invention, wherein the
image concerns processing of the Chinese language;                   twenty-fifth image concerns processing of the Russian lan
   FIG.3E shows a eleventh image, menu, or interface, which     25
                                                                     gllage.
can be displayed on a computer monitor in accordance with
an embodiment of the present invention, wherein the eleventh             DETAILED DESCRIPTION OF THE DRAWINGS
image concerns processing of the Chinese language;
   FIG.3F shows a twelfth image, menu, or interface, which
can be displayed on a computer monitor in accordance with       30      FIG. 1 shows an apparatus 100 for use in accordance with
an embodiment of the present invention, wherein the twelfth          an embodiment of the present invention. The apparatus 100
image concerns processing of the Chinese language;                   may include a computer. The apparatus 100 may include a
   FIG. 4A shows a thirteenth image, menu, or interface,             computer monitor 102, a computer processor 104, a computer
which can be displayed on a computer monitor in accordance           memory 106, a computer interactive device 108, a communi
with an embodiment of the present invention, wherein the        35   cations port 110, and the internet 112. The computer monitor
thirteenth image concerns processing of a Japanese language;         102, computer memory 106, computer interactive device 108,
   FIG. 4B shows a fourteenth image, menu, or interface,             and communications port 110 may communicate with the
which can be displayed on a computer monitor in accordance           computer processor 104 via any type of communications
with an embodiment of the present invention, wherein the             links. The communications port 110 may communicate with
fourteenth image concerns processing of a Japanese lan          40   the internet 112 via a communications link.
gllage.                                                                 FIG. 2A shows a first image, menu, or interface 200a,
   FIG. 4C shows a fifteenth image, menu, or interface, which        which can be displayed on the computer monitor 102 in
can be displayed on a computer monitor in accordance with            accordance with an embodiment of the present invention. The
an embodiment of the present invention, wherein the fifteenth        computer processor 104 may be programmed by a computer
image concerns processing of a Japanese language;               45   program to cause the first image 200a to be displayed on the
   FIG. 4D shows a sixteenth image, menu, or interface,              computer monitor 102. The computer program may be stored
which can be displayed on a computer monitor in accordance           in the computer memory 106 and may be executed by the
with an embodiment of the present invention, wherein the             computer processor 104. A person or user can interact with
sixteenth image concerns processing of a Japanese language;          the first image 200a through the computer interactive device
   FIG. 4E shows a seventeenth image, menu, or interface,       50   108, which may include a computer mouse, computer key
which can be displayed on a computer monitor in accordance           board, and the computer monitor 102 itself (for example, in
with an embodiment of the present invention, wherein the             the case where the computer monitor 102 is a touch screen
seventeenth image concerns processing of a Japanese lan              and receives inputs from a user).
gllage.                                                                 The first image 200a concerns processing of the Telugu
   FIG. 4F shows an eighteenth image, menu, or interface,       55   language, which is a language spoken in India and one of the
which can be displayed on a computer monitor in accordance           official and classical languages of India. The first image 200a
with an embodiment of the present invention, wherein the             includes a search box or field 202 for inputting, entering or
eighteenth image concerns processing of a Japanese lan               printing (causing to be displayed in field 202 on the computer
gllage.                                                              monitor 102) Telugu characters. The first image 200a also
   FIG.5 shows a nineteenth image, menu, or interface, which    60   includes a search button or field 206 which can be clicked on
can be displayed on a computer monitor in accordance with            with a computer cursor using a computer mouse or any inter
an embodiment of the present invention, wherein the nine             active device to cause searching on the Internet 112 for a
teenth image concerns processing of the Korean language;             character or combination of characters that is displayed in the
   FIG. 6 shows a twentieth image, menu, or interface, which         search box 202 or an intranet not shown. Alternatively, the
can be displayed on a computer monitor in accordance with       65   searchbox 202 and the search button 206 can be replaced with
an embodiment of the present invention, wherein the twenti           a web form Such as for sending mail, chatting, blogging, or for
eth image concerns processing of the Arabic language;                online advertisement creation.
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  The first image 200a also includes a set 204 of character            which is related to the character menu item selected, and
menu items, which can be html table cells, buttons or any GUI          which is in line with the character menu item selected.
(Graphical User Interface) components. The set 204 includes               FIG. 2C shows a third image, menu, or interface 200c,
character menu items 204a, 204b. 204c. 204d. 204e. 204f.               which can be displayed on the computer monitor 102 in
204g, 204h, 204i, 204i, 204k, 2041, 204m, 204n, 2040, 204p,            accordance with an embodiment of the present invention. The
2044, 204r, 204s, 204t, 204u. 204v. 204w, and 204x. A user             computer processor 104 may be programmed by a computer
can click on and cause a character from one of these character         program to cause the third image 200c to be displayed on the
menu items to be displayed in search box 202. There can be             computer monitor 102. A person or user can interact with the
more character menu items following 204x to include the                third image 200c through the computer interactive device
complete set of consonants of the Telugu language. The char       10   108.
acter menu items 204a–b, show diacritics of the Telugu char              The third image 200c concerns processing of the Telugu
acters Anuswara (nasal diacritic) “0” and Visarga (breathless          language. The third image 200c includes fields 202 and 206,
 h’sound following consonant)":”, respectively. The charac             which were previously explained with reference to FIG. 2A.
termenu items 204c shows the first vowel, and the character            The third image 200c also includes the set 204 of character
menu items 204d-204.x show a plurality of consonants in the       15   menu items, previously explained with reference to FIG. 2A.
Telugu language. There are thirty-five consonants, fourteen            The third image 200c includes a column set 208 of character
vowels, and one "Anuswara' which adds an 'an' sound and                menu items previously described with reference to FIG. 2B.
one Visarga which adds 'ah.' Sound to consonants in the                The third image also includes a row set 212 of character menu
Telugu language.                                                       items 212a, 212b, 212c, 212d, 212e, 212? 212g, 212h, 212i.
   FIG. 2B shows a second image, menu, or interface 200b,              212i, 212k, 212l, 212m, 212n, 212O, 212p. 2129, 212r, 212s,
which can be displayed on the computer monitor 102 in                  212t, and 212u. There can be more character menu items
accordance with an embodiment of the present invention. The            following 212u to corresponding to the remaining consonants
computer processor 104 may be programmed by a computer                 of the Telugu language. When the second image 200b of FIG.
program to cause the second image 200b to be displayed on              2B is on a screen of the computer monitor 102, a user can
the computer monitor 102. A person or user can interact with      25   place cursor 210 (in one embodiment clicking of a computer
the second image 200b through the computer interactive                 mouse is not necessary, i.e. the cursor 210 can be just placed
device 108.                                                            over the particular character menu item) through the interac
   The second image 200b concerns processing of the Telugu             tive device 108 on the character menu item 208e to cause the
language. The second image 200b includes fields 202 and                row set 212 of the third image 200c to be displayed on the
206, which were previously explained with reference to FIG.       30   computer monitor 102. A user can click on and thereby cause
2A. The second image 200b also includes the set 204 of                 one of these characters to be displayed in search box 202.
character menu items, previously explained with reference to           Each of the characters of row set 212 is a double-consonant
FIG. 2A. The second image 200b includes a column set 208 of            conjunct derivative of the single consonant vowel derivative
character menu items 208a, 208b. 208c, 208d, 208e, 208/                208e. For example, character 212a of image 200c is the
208g. 208h, 208i, and 208i. There can be more menu items          35   double-consonant conjunct character of 208e wherein the
below 208i in the column set 208. When the first image 200a            first and second consonants involved are 204k and 204d of
of FIG. 2A is on a screen of the computer monitor 102, a user          FIG. 2A respectively.
can place cursor 210, using the interactive device 108, on or            The character menu item 208e shows a vowel derivative of
over a character menu item Such as 204k to cause a column set          the Telugu consonant 204k Placing cursor 210 on or over the
such as column set 208 of the second image 200b to be             40   character menu item 208e displays the set 212 which is a set
displayed on the computer monitor 102. Each of the charac              offirst order conjuncts of the vowel derivative character 208e.
ters of the column set 208 is a vowel derivative (diacritic) of           FIG. 2D shows a fourth image, menu, or interface 200d.
the consonant character 204k. A user can click on and print            which can be displayed on the computer monitor 102 in
("print” in this instance meaning cause to be displayed in             accordance with an embodiment of the present invention. The
search box 202 on a computer monitor, Such as computer            45   computer processor 104 may be programmed by a computer
monitor 102) one of these characters in search box 202.                program to cause the fourth image 200d to be displayed on the
  The character menu item 204k includes or shows a conso               computer monitor 102. A person or user can interact with the
nant of the Telugu language. Placing the cursor on or over the         fourth image 200d through the computer interactive device
character menu item 204k displays what are called “vowel               108.
derivatives” (diacritics) of the consonant of the menu item       50      The fourth image 200d concerns processing of the Telugu
204k. The column set 208 shows a plurality of vowel deriva             language. The fourth image 200d includes fields 202 and 206,
tives of the consonant of menu item 204k.                              which were previously explained with reference to FIG. 2A.
  A user can select any of the other character menu items of           The fourth image 200d also includes the sets 204, 208, and
204d-204.x shown in FIG. 2A, to cause a column of character            212 of character menu items, previously explained with ref
menu items to appear adjacent, and in line with the character     55   erence to FIGS. 2A, 2B, and 2C, respectively. The fourth
menu item selected. FIG. 2B shows what occurs when char                image 200d also includes a row set 214 of character menu
acter menu item 204kis selected, which causes column 208 to            items. The row set 214 includes triple-consonant conjunct
the displayed on the computer monitor 102 adjacent and in a            characters 214a, 214b, 214c, 2.14d. 214e, 214f 214g, 214h.
straight line with character menu item 204k. If instead, for           214i, 214i, 214k, 2141, 214m, 214n, 214o, 214p, 2144, 214r,
example, character menu item 204l was selected, a column          60   214s, 214t, and 214u. There can be more character menu
209, shown in FIG. 2G would be displayed adjacent and in a             items following 214u to include the complete set of triple
straight line with character menu item 2041. Column 209                consonant conjuncts of the double-consonant conjunct char
would have character menu items related to character menu              acter 212p. A user can click on and print one of these char
item 204l, such as vowel derivatives of a consonant character          acters in search box or field 202. When the third image 200c
of character menu item 2041. Selecting any other character        65   of FIG. 2C is on a screen of the computer monitor 102, a user
menu item of 204d-x, would cause a column of character                 can place cursor 210, using the interactive device 108 on or
menu items to be displayed on the computer monitor 102.                over the character menu item 212p to cause the row set 214 of
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the fourth image 200d to be displayed on the computer moni              as shown in FIG.2B. The user can select and print any of these
tor 102. Each of the characters of row set 214 is a triple              Vowel derivatives or the base consonant itself using the com
consonant conjunct character. For example, character 214a is            puter interactive device 108.
a triple-consonant conjunct character wherein the first, sec               Similarly, the full list of independent vowels can be viewed
ond and third consonants involved are 204k, 204s and 204d of       5
                                                                        as a Sub menu by placing cursor on the first vowel (such as
image 200a respectively.                                                204c) displayed on the main menu 204, such as shown in
   The character menu item 212p of image 200c in FIG. 2C                image 200a in FIG. 2A. The user can select and print the
shows a first order (double-consonant) conjunct character.              required vowels from the Sub menu. In languages wherein
Placing cursor 210 using the interactive device 108, on the             two or more consonants may join to form conjunct conso
character menu item 212p causes the set 214 to be displayed        10
                                                                        nants, a second level Sub menu, Such as row set 212 of image
which includes the second order (triple-consonant) conjuncts            200c in FIG. 2C can be generated showing all possible two
of the first order conjunct character 212p.                             consonant conjuncts by placing a computer cursor on a char
   FIG. 2E shows a fifth image, menu, or interface 200e,                acter menu item of the first level submenu, such as the char
which is same as the image 200d of FIG. 2D except for the               acter menu item 208e of the image 200b in FIG.2B. Similarly,
click graphic 216. The click graphic is shown in FIG.2E only       15
                                                                        a third level sub menu, such as the row set 214 of the image
for explanation purposes to indicate that a user can click on           200d in FIG. 2D of three-consonant conjuncts can be dis
any character menu item Such as 214c in order to print it in the        played when a computer cursor is placedon a second level Sub
search box 202. The click graphic 216 would not typically be            menu character menu item, such as menu item 212p. This
displayed visually on a screen of the computer monitor 102.             implementation of the method, in at least one embodiment of
   When the fourth image 200d of FIG. 2D is on a screen of              the present invention is very well suited to all Indian and
the computer monitor 102, a user can click on a character               similar languages in which up to three consonants can com
menu item, Such as 214c to print its character in search box            bine to form conjunct consonants. More specifically, the list
202.                                                                    of Suitable languages include Hindi, Bengali, Assamese,
  FIG. 2F shows a sixth image, menu, or interface 200f.            25
                                                                        Gujarati, Punjabi, Marathi, Oriya, Kannada, Malayalam and
which can be displayed on the computer monitor 102 in                   Tamil, and also Sinhalese, the spoken language of Sri Lanka.
accordance with an embodiment of the present invention. The             Tamil is the simplest among all Indian languages requiring
computer processor 104 may be programmed by the com                     only a first level Submenu as the language has no concept of
puter program to cause the sixth image 200fto be displayed              conjunct consonants.
on the computer monitor 102. A person or user can interact         30      FIGS. 3A-3F are related to the Chinese language. FIG. 3A
with the sixth image 200f through the computer interactive              shows an image, menu, or interface 300a for the Chinese
device 108.                                                             language, which can be displayed on the computer monitor
   The sixth image 200f concerns processing of the Telugu               102 in accordance with an embodiment of the present inven
language. The sixth image 200f includes fields 202 and 206,             tion. The computer processor 104 may be programmed by a
which were previously explained with reference to FIG. 2A.              computer program to cause the first image 300a to be dis
The sixth image 200falso includes the set 204 of character              played on the computer monitor 102. The computer program
menu items, previously explained with reference to FIG. 2A.             may be stored in the computer memory 106 and may be
The sixth image 200f is same as the first image 200a of FIG.            executed by the computer processor 104. A person or user can
2A except for the character from the character menu item                interact with the image 300a through the computer interactive
214c of image 200e which has been inserted into a field 202a       40   device 108, which may include a computer mouse, computer
of the search box 202. This can be done by clicking, using a            keyboard, and the computer monitor 102 itself (for example,
computer mouse, the character menu item 214c in image                   in the case where the computer monitor 102 is a touch screen
200e.                                                                   and receives inputs from a user).
   One or more embodiments of the present invention provide                The image 300a concerns processing of the Chinese lan
dynamic language text generation, which is particularly            45   guage and includes a search box 302 for inputting, entering,
applicable to various non-English languages, such as Chi                or printing Chinese characters. The image 300a also includes
nese, Japanese, and various Indian languages. In at least one           a search button 306 which can be clicked on with a computer
embodiment, text can be generated in any language without a             cursor using a computer mouse or any interactive device of
keyboard, Such as through a computer mouse, stylus, or finger           interactive device 108 to cause the computer processor 104 to
actions on touch screens of computers and wireless devices.        50   cause searching on the Internet 112 through communications
  In FIG. 2A, the set 204 includes all the base consonants of           port 110 or intranet not shown. Alternatively, the search box
the Telugu language. In one embodiment, the set 204 may                 302 and the search button 306 can be replaced with a web
only include the base consonants or radicals of the particular          form for purposes such as sending mail, chatting, blogging,
language. Such as Telugu, in this example. This reduces menu            online advertisement creation, and for other purposes.
file size for the computer memory 106 and processing power         55      The image 300a also includes a set 304 of character menu
required for the computer processor 104.                                items, which can be html table cells, buttons or any GUI
   If the particular language has independent vowels also,              (Graphical User Interface) components. The set 304 includes
only the first vowel is displayed as part of the main menu 204.         character menu items 304a, 304b, 304c., 304d, 304e, 304f.
For example, in FIG. 2A character 204c is the first vowel.              304g,304h, 304i, 304i, 304k,3041,304m,304n, 3040, 304p,
   In at least one embodiment of the present invention,            60   and 304q. There can be more character menu items following
required characters are dynamically generated and displayed             3044 to include more Chinese Kangxi radicals. The character
according to user requirements. For example, when a user                menu items 304a-304q show Chinese Kangxi radicals at par
points to a consonant, such as one of 204d-204.x, shown in              ticular sequential interval positions such as 1, 11, 21, ... and
FIG. 2A, such as by using a computer mouse, a stylus or a               so on of the Chinese Kangxi radicals set. There are total two
touch screen, all the vowel derivatives (such as partially         65   hundred and fourteen Kangxi radicals in the Chinese lan
shown in set 208 of FIG. 2B) of the consonant (such as in               guage. Since all these two hundred and fourteen radicals
menu item 204k) are displayed as a first level sub menu, such           cannot visibly fit in a scroll-free screen, the character set 304
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selectively includes only the radicals located at sequential            index.312 of all the blocks are displayed on the screen. Menu
positions 1, 11, 21, ... and so on of the Kangxi radicals set.          items 312a-312g show the derivative character block num
   FIG. 3B shows an image, menu, or interface 300b for the              bers 1-7 of the Kangxi radical 308e. A user can navigate
Chinese language, which can be displayed on the computer                through all the character blocks and display the required
monitor 102 in accordance with an embodiment of the present        5    block by placing cursor over the corresponding block number
invention. The computer processor 104 may be programmed                 of index 312.
by the computer program to cause the image 300b to be                      FIG. 3D shows an image, menu, or interface 300d for the
displayed on the computer monitor 102. A person or user can             Chinese language, which can be displayed on the computer
interact with the image 300b using the computer interactive             monitor 102 in accordance with an embodiment of the present
device 108.                                                        10   invention. The computer processor 104 may be programmed
   The image 300b concerns processing of the Chinese lan                by the computer program to cause the image 300d to be
guage. The image 300b includes the search box or field 302              displayed on the computer monitor 102. A person or user can
and search button or field 306, which were previously                   interact with the image 300d through the computer interactive
explained with reference to FIG. 3A.                                    device 108.
   The image 300b also includes the set 304 of character menu      15     The image 300d is same as the image 300c of FIG. 3C
items, previously explained with reference to FIG. 3A. The              except for the derivative characters block 314e in place of
image 300b includes a column set 308 of character menu                  314a and the position of cursor 310. When a user places
items 308a,308b, 308c,308d, 308e, 308/.308g,308h, 308i,                 cursor 310 through the interactive device 108 over the menu
and 308i. When the image 300a of FIG. 3A is on a screen of              item 312e of index. 312, the previously displayed block of
the computer monitor 102, a user can place computer cursor              characters 314a disappears and a corresponding block of
310, through the interactive device 108, on the character               characters 314e is displayed on the screen of computer moni
menu item, 304h to cause the column set 308 of the image                tor 102.
300b to be displayed on the computer monitor 102. The                     When the image 300c of FIG. 3C is on a screen of the
column set 308 shows the Kangxi radical 304h and its nine               computer monitor 102, a user can place cursor 310, using the
consecutive Kangxi radicals. Similarly, when a user places         25   interactive device 108, on the menu item 312e of the index
cursor over any Kangxi radical of the set 304, a vertical menu          312 of blocks to cause the fifth block of derivative characters
or column set of characters is displayed, which includes the            of the Kangxi base radical 308e to be displayed on the com
Kangxi radical itself and its 9 consecutive Kangxi radicals.            puter monitor 102 as shown in the image 300d.
However, an exception applies to the last radical of the set               FIG.3E shows an image, menu, or interface 300e, which is
304, wherein the radical itself and its 3 consecutive radicals     30   same as the image 300d of FIG. 3D except for the click
will be displayed when the cursor 310 is placed over it. The            graphic 316. The click graphic 316 is shown in FIG. 3E for
number of radicals in the horizontal menu or row set 304 and            explanation purposes to indicate that a user can click on any
Vertical menu or corresponding column set for each character            character menu item of the block 314e, such as character
item of the row set 304 can be varied according to the design           menu item 324a of the block 314e in order to print it in the
er's choice.                                                       35   searchbox 302. The click graphic 316 would not be displayed
   FIG. 3C shows an image, menu, or interface 300c for the              visually on the screen. Character 324a refer to the character at
Chinese language, which can be displayed on the computer                the 2" row and 2" column of block 314e.
monitor 102 in accordance with an embodiment of the present                When the image 300d of FIG. 3D is on a screen of the
invention. The computer processor 104 may be programmed                 computer monitor 102, a user can click on the character menu
by a computer program to cause the image 300c to be dis            40   item 324a to print it in the search box or field 302.
played on the computer monitor 102. A person or user can                   FIG. 3F shows an image, menu, or interface 300f, which
interact with the image 300c through the computer interactive           can be displayed on the computer monitor 102 in accordance
device 108.                                                             with an embodiment of the present invention. The computer
   The image 300c concerns processing of the Chinese lan                processor 104 may be programmed by the computer program
guage. The image 300c includes fields 302 and 306, which           45   to cause the image 300f to be displayed on the computer
were previously explained with reference to FIG. 3A. The                monitor 102. A person or user can interact with the image
image 300c also includes the row set 304 of character menu              300fthrough the computer interactive device 108.
items, previously explained with reference to FIG. 3A. The                 The image 300f concerns processing of the Chinese lan
image 300c includes the column set 308 of characters menu               guage. The image 300f includes fields 302 and 306, which
items previously described with reference to FIG. 3B. The          50   were previously explained with reference to FIG. 3A. The
image 300c also includes an index 312 of character blocks               image 300falso includes the set 304 of character menu items,
and a block 314a of characters. The block 314a comprises                previously explained with reference to FIG. 3A. Image 300f
some first few derivative characters of the Kangxi base radical         of FIG.3F is same as the image 300a of FIG.3A except for the
308e. There can be more or less rows and columns in the block           character 334a taken from menu item 324a of image 300e
314a than shown in the image 300c. When the image 300b of          55   shown printed in the search box or field 302
FIG.3B is on a screen of the computer monitor 102, a user can              In FIG.3A, the set 304 includes only a few Kangxi radicals
place cursor 310, using the interactive device 108, on the              of the Chinese language. In one embodiment, the set 304 may
character menu item (Kangxi radical) 308e to cause the index            include only a few radicals of the particular language. Such as
312 of character blocks and the characters block 314a of the            Chinese, in this example. This reduces menu file size for the
image 300c to be displayed on the computer monitor 102.            60   computer memory 106 and processing power required for the
Each of the characters of the block 314a is a derivative char           computer processor 104.
acter of the Kangxi base radical 308e. The Kangxi base radi                In at least one embodiment of the present invention,
cal 308e has several derivative characters, which are conve             required characters are dynamically generated and displayed
niently divided in this system into seven blocks in order to            according to user needs. For example, when a user points to a
avoid horizontal and vertical Scrolling of their display screen.   65   Kangxi radical, such as one of 304a-304q, such as by use of
When a user places cursor 310 on the Kangxi base radical                a computer mouse, stylus or touch screen, the radical itself
308e, only the first block314a of its derivative characters and         and all its succeeding radicals before the next radical in the set
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304 are displayed as a first level sub menu or column set 308,        using the interactive device 108, on the menu item 408 to
such as shown in FIG.3B. The user can select and print any of         cause the row set 416 of the image 400b to be displayed on the
the radicals from the first level submenu or column set 308           computer monitor 102. A user can click on and cause any of
using the computer interactive device 108.                            the characters of the row set 416 to be displayed in the search
  In a language like Chinese wherein a radical may have               box 402.The first character 416a of the row set 416 is the first
several derivative characters, a second level submenu or row          vowel of the Japanese Hiragana alphabet. Characters 416b
set, such as row set 312 of image 300c in FIG. 3C can be              416p are consonants of the Hiragana alphabet. For example,
displayed showing all block numbers of derivative characters          character menu item 416g is the Hiragana consonant ma.
by placing the cursor 310 on a base radical of the first level           FIG. 4C shows an image, menu, or interface 400c, which
submenu such as column set 308 of image 300b. Similarly, a       10   can be displayed on the computer monitor 102 in accordance
third level submenu, such as 314e of image 300d in FIG. 3D,           with an embodiment of the present invention. The computer
of derivative characters can be displayed when cursor 310 is          processor 104 may be programmed by the computer program
placed on a second level Submenu item such as 312e.                   to cause the image 400c to be displayed on the computer
   FIG. 4A-FIG.4F are related to the Japanese language. FIG.          monitor 102. A person or user can interact with the image
4A shows an image, menu, or interface 400a, which can be         15   400c by using the computer interactive device 108.
displayed on the computer monitor 102 in accordance with an              The image 400c concerns processing of the Japanese lan
embodiment of the present invention. The computer proces              guage. The image 400c includes fields 402 and 404, which
Sor 104 may be programmed by a computer program to cause              were previously explained with reference to FIG. 4A. The
the image 400a to be displayed on the computer monitor 102.           image 400c also includes menu item set 406, menu items 408
The computer program may be stored in the computer                    and 410 and menu item set 412, previously explained with
memory 106 and may be executed by the computer processor              reference to FIG. 4A. The image 400c also includes a cursor
104. A person or user can interact with the image 400a                414. The image 400c further includes a row set 416 of char
through the computer interactive device 108, which may                acter menu items, previously explained with reference to FIG.
include a computer mouse, computer keyboard, and the com              4B. Additionally, the image 400c includes a column set 418 of
puter monitor 102 itself (for example, in the case where the     25   character menu items 418a, 418b, 418c, 418d, 418e, 418f and
computer monitor 102 is a touch screen and receives inputs            418g. Each of the character menu items 418a-418g is a vowel
from a user).                                                         derivative (syllable) of the Hiragana consonant 416g. When
   The image 400a concerns processing of the Japanese lan             the image 400b of FIG. 4B is on a screen of the computer
guage. The image 400a includes a search box or field 402 for          monitor 102, a user can place cursor 414, using the interactive
inputting or entering or printing Japanese characters. The       30   device 108, on the character menu item 416g to cause the
image 400a also includes a search button or field 404 which           column set 418 of the image 400c to be displayed on the
can be clicked on with a computer cursor using a computer             computer monitor 102. A user can click on and cause any of
mouse or any interactive device to cause the computer pro             the characters of the column set 418 to be displayed in search
cessor 104 to cause searching on the Internet 112 of FIG. 1 or        box 402. When the user clicks on character menu item 418a,
intranet not shown. Alternatively, the search box 402 and the    35   for example, the character in menu item 418a appears in the
search button 404 can be replaced with a web form for send            left hand corner of search box 402. Similarly, a user can view
ing mail, chatting, blogging, online advertisement creation           the derivatives (syllables) of any Hiragana consonant by plac
etc.                                                                  ing the cursor 414 on the particular Hiragana consonant (lo
  The image 400a also includes menu item set 406, and menu            cated in a particular menu item of row set 416. Any desired
items 408 and 410 and menu item set 412. Menu item sets 406      40   derivative (syllable) can be printed by clicking on it with the
and 412 include a plurality of menu items. Each of the menu           computer interactive device 108. A user can also view all
items can be an html table cell, a button or any GUI (Graphi          Vowels of the Hiragana alphabet by placing the cursor 414 on
cal User Interface) component. Menu item set 406 may be a             the first vowel (character menu item) 416a of image 400b in
set of Japanese punctuation characters 406a, 406b, 406c and           FIG. 4B. Any desired vowel can be displayed in search box
406d or menu items. A user can click on and print any of the     45   402 by clicking on the corresponding menu item in which it is
characters shown in menu items 406a-din searchbox 402, by             located using the computer interactive device 108.
using the interactive device 108. Menu items 408, 410 and                FIG. 4D shows an image, menu, or interface 400d, which
menu item set 412 provide links to the Japanese character sets        can be displayed on the computer monitor 102 in accordance
Hiragana, Katakana and Kanji respectively.                            with an embodiment of the present invention. The computer
   FIG. 4B shows an image, menu, or interface 400b, which        50   processor 104 may be programmed by the computer program
can be displayed on the computer monitor 102 in accordance            to cause the image 400d to be displayed on the computer
with an embodiment of the present invention. The computer             monitor 102. A person or user can interact with the image
processor 104 may be programmed by a computer program to              400d through the computer interactive device 108.
cause the image 400b to be displayed on the computer moni                The image 400d concerns processing of the Japanese lan
tor 102. A person or user can interact with the image 400b       55   guage. The image 400d includes fields 402 and 404, which
through the computer interactive device 108.                          were previously explained with reference to FIG. 4A. The
   The image 400b concerns processing of the Japanese lan             image 400d also includes menu item sets 406 and 412, and
guage. The image 400b includes fields 402 and 404, which              menu items 408 and 410, previously explained with reference
were previously explained with reference to FIG. 4A. The              to FIG. 4A. The image 400d also includes a cursor 414. The
image 400b also includes menu item set 406, menu items 408       60   image 400d further includes a row set 420 of character menu
and 410 and menu item set 412, previously explained with              items 420a, 420b, 420c, 420d, 420e, 420/.420g, 420h, 420i,
reference to FIG. 4A. The image 400b also includes a cursor           420i, 420k, 420, 420m, 420m, 4200, 420p, 4204, 420r, 420s
414. The image 400b further includes a row set 416 of char            and 420t. Character menu item 420a shows or includes the
acter menu items 416a, 416b, 416C, 416d, 416e, 416f 416g,             first vowel of the Japanese Katakana alphabet. Each of the
416h, 416i, 416i, 416k, 4161, 416m, 416 n. 416o, and 408p.       65   characters menu items 420b-420t shows or includes a Kata
When the image 400a of FIG. 4A is on a screen of the                  kana consonant. There can be more character menu items
computer monitor 102, a user can place the cursor 414, by             beyond 420t to include the remaining Katakana consonants.
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                           15                                                                        16
When the image 400a of FIG. 4A is on a screen of the                   screen of the computer monitor 102, a user can place the
computer monitor 102, a user can place cursor 414, using the           cursor 414, using the interactive device 108, on the menu item
interactive device 108, on the menu item 410 to cause the row          412d (block number 3 of Kanji characters) to cause the Kanji
set 420 of the image 400d to be displayed on the computer              block 424 of the image 400fto be displayed on the computer
monitor 102. A user can click on any of the character menu        5    monitor 102. A user can click any one of the menu items of the
items of the row set 420 to cause the corresponding character          block 424, each including a Kanji character to thereby cause
to be displayed in the search box 402. Print means making a            that character to be displayed in the searchbox 402. Similarly,
character appear in the search box or adding it to the search          a user can view other Kanji character blocks by placing the
box.                                                                   cursor 414 on their corresponding number in the menu item
   FIG. 4E shows an image, menu, or interface 400e, which         10   set 412. A desired Kanji character can be clicked on, using the
can be displayed on the computer monitor 102 in accordance             interactive device 108 and displayed or made to appear in the
with an embodiment of the present invention. The computer              search box 402. There can be more block numbers in menu
processor 104 may be programmed by the computer program                item set 412 covering the entire set of Kanji characters.
to cause the image 400e to be displayed on the computer                  One or more embodiments of the present invention provide
monitor 102. A person or user can interact with the image         15   dynamic language text generation, which is particularly
400e through the computer interactive device 108.                      applicable to various non-English languages, such as Chi
   The image 400e concerns processing of the Japanese lan              nese, Japanese, and various Indian languages. In at least one
guage. The image 400e includes fields 402 and 404, which               embodiment, text can be generated in any language without a
were previously explained with reference to FIG. 4A.                   keyboard, Such as through a computer mouse, stylus, or finger
   The image 400e also includes menu item set 406, menu                actions on touch screens of computers and wireless devices.
items 408 and 410 and menu item set 412, previously                      In FIG. 4B, the set 416 includes all base consonants of the
explained with reference to FIG. 4A. The image 400e also               Japanese Hiragana alphabet. Similarly, in FIG. 4D, the set
includes the cursor 414. The image 400e further includes a             420 includes all base consonants of the Japanese Katakana
row set 420 of character menu items, previously explained              alphabet. In one embodiment, the sets 416 and 420 may only
with reference to FIG. 4D. Additionally, the image 400e           25
                                                                       include the base consonants or radicals of the particular lan
includes a column set 422 of character menu items 422a.                guage, such as Japanese, in this example. This reduces menu
422b. 422c. 422d, 422e, 422? and 422g. Each of the character           file size for the computer memory 106 and processing power
menu items 422a-422g includes or shows a vowel derivative              required for the computer processor 104.
(syllable) of the Katakana consonant in menu item 420i                    If the particular language has independent vowels also,
shown in image 400d of FIG. 4D. When the image 400d of            30
                                                                       only the first vowel is displayed as part of the main menu. For
FIG. 4D is on a screen of the computer monitor 102, a user can         example, in FIG. 4B, character 416a is the first vowel of the
place cursor 414, using the interactive device 108, on the             Hiragana alphabet.
character menu item 420i to cause the column set 422 of the
image 400e to be displayed on the computer monitor 102. A                 In at least one embodiment of the present invention,
user can click one of menu items of the column set 422 to         35   required characters are dynamically generated and displayed
cause the corresponding vowel derivative (syllable) to be              according to user requirements. For example, when a user
displayed in the searchbox 402. Similarly, a user can view the         points to a consonant, Such as one of menu items 416b-416p
derivatives (syllables) of any Katakana consonant by placing           of set 416, shown in FIG. 4B through a computer mouse,
the cursor 414 on a menu item, which has that Katakana                 stylus or touch screen, all the vowel derivatives (such as
consonant of menu items 420b-420t and beyond. A desired           40   shown in set 418 for the consonant shown in menu item 416g)
derivative (syllable) can be made to appear in the search box          of the particular consonant (such as consonant in menu item
402 by clicking on the corresponding menu item comprising              416g in this example) are displayed as a Submenu, Such as
                                                                       shown in FIG. 4C. The user can select and cause to be dis
that derivative (syllable) with the computer interactive device
108.                                                                   played in the searchbox 402 any of these vowel derivatives or
   A user can also view all vowels of the Katakana alphabet as    45   the base consonant itself using the computer interactive
a column set by placing the cursor 414 on the first vowel              device 108. Similarly, the full list of independent vowels can
(character menu item) 420a of image 400d in FIG. 4D. A                 be viewed as a sub menu by placing the cursor 414 on the first
desired vowel can be made to appear in the search box 402 by           Vowel (such as 416a, in one example) displayed on the main
clicking on the menu item, which has that particular vowel             menu, such as image 400b in FIG. 4B. A user can select and
with the computer interactive device 108.                         50   print the required vowels from the sub menu.
   FIG. 4F shows an image, menu, or interface 400?, which                 If a particular language. Such as Japanese has several sym
can be displayed on the computer monitor 102 in accordance             bolic characters, they can be organized into a number of
with an embodiment of the present invention. The computer              blocks, with each block comprising as many symbols as can
processor 104 may be programmed by the computer program                be conveniently displayed on a scroll-free computer Screen.
to cause the image 400f to be displayed on the computer           55      FIG. 5 shows an image, menu, or interface 500, which can
monitor 102. A person or user can interact with the image              be displayed on the computer monitor 102 in accordance with
400fthrough the computer interactive device 108.                       an embodiment of the present invention. The computer pro
   The image 400fconcerns processing of the Japanese lan               cessor 104 may be programmed by a computer program to
guage. The image 400f includes fields 402 and 404, which               cause the image 500 to be displayed on the computer monitor
were previously explained with reference to FIG. 4A. The          60   102. The computer program may be stored in the computer
image 400falso includes menu item set 406, menu items 408              memory 106 and may be executed by the computer processor
and 410 and menu item set 412, previously explained with               104. A person or user can interact with the image 500 through
reference to FIG. 4A. The image 400falso includes the cursor           the computer interactive device 108, which may include a
414. The image 400ffurther includes a block 424 of character           computer mouse, computer keyboard, and the computer
menu items, which is a set of Japanese Kanji characters.          65   monitor 102 itself (for example, in the case where the com
There can be more characters in the block 424 than shown in            puter monitor 102 is a touch screen and receives inputs from
the image 400f. When the first image 400a of FIG. 4A is on a           a user).
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   Image 500 concerns processing of the Korean language.                    Image 600 also includes a main menu 606, a submenu 608
Image 500 includes a search box or field 502 for inputting or            and a cursor 610. Menu 606 comprises a plurality of menu
entering or printing Korean characters. Image 500 also                   items, which include a row set of Arabic punctuation charac
includes a search button 504 which can be clicked on with a              ters and numbers, and another row set of Arabic base letters.
computer cursor using a computer mouse or any interactive                There can be more menu items in main menu 606 than shown
device, such as 108, to cause the computer processor 104 to              in the image 600 to include the remaining Arabic base letters.
cause searching on the Internet 112 or intranet, not shown.              Each of the Menu items can be an html table cell, a button or
Alternatively, the search box 502 and the search button 504              any GUI (Graphical User Interface) component. Submenu
can be replaced with a web form for sending mail, chatting,              608 comprises a column set of character menu items which
blogging, online advertisement creation etc.                        10   show or include syllables (vowel diacritics) of the Arabic
   Image 500 also includes menus 506, 508,510 and a cursor               consonant 606b shown in the image 600. The column set can
512. Menu 506 comprises a row set of menu items, each one                comprise more syllables than shown in the image 600. Ini
of which contains a Korean consonant. There can be more                  tially, only menu 606 is displayed along with the search box
menu items than shown in the image 500 to include the                    602 and the search button 604. A user can click and print one
remaining Korean consonants. Each Menu item can be an               15   of these characters in search box 602 by using the interactive
html table cell, a button or any GUI (Graphical User Inter               device 108. When a user places cursor 610, using the inter
face) component. Menu 508 comprises a column set of menu                 active device 108 on a character menu item including an
items, each of which contains or includes a Korean syllable.             Arabic base letter, such as menu item 606b, all the corre
The Korean syllables include an initial consonant and a                  sponding character's syllables (vowel diacritics) are dis
medial vowel. There can be more menu items than shown in                 played as a column set, such as column set 608 for the
the image 500 to include the remaining such syllables. Menu              example of menu item 606b. A user can click and print one of
510 comprises a row set of menu items, each one of which                 these syllables (vowel diacritics) in search box 602 through
contains a Korean syllables with an initial consonant, a                 the use of the interactive device 108. Similarly, any syllable of
medial vowel and a final consonant. There will be more menu              any base letter can be located and printed in search box 602.
items than shown in the image 500 to include the remaining          25      FIG. 7 shows an image, menu, or interface 700, which can
such syllables. Initially, only menu 506 of consonants is dis            be displayed on the computer monitor 102 in accordance with
played along with the search box 502 and the search button               an embodiment of the present invention. The computer pro
504. A user can click and print one of these characters in               cessor 104 may be programmed by a computer program to
search box 502 through the interactive device 108. When a                cause the image 700 to be displayed on the computer monitor
user places cursor 512, using the interactive device 108 on a       30   102. The computer program may be stored in the computer
menu item including a Korean consonant, such as menu item                memory 106 and may be executed by the computer processor
506g, all of the syllables with a medial vowel (for example              104. A person or user can interact with the image 700 through
508 in this case) of the particular Korean consonant of the              the computer interactive device 108, which may include a
menu item (in this case 506g) are displayed as a vertical set (in        computer mouse, computer keyboard, and the computer
this example 508) of characters. A user can click and cause         35   monitor 102 itself (for example, in the case where the com
one of these syllables to be displayed in search box 502 using           puter monitor 102 is a touch screen and receives inputs from
the interactive device 108. When a user places cursor 512 on             a user).
one of the menu items of these characters, such as 508e, all the            Image 700 concerns processing of the Hebrew language.
character's extended syllables with a final consonant are dis            Image 700 includes a search box 702 for inputting or entering
played as a row set such as row set 510 for the character 508.e.    40   or printing Hebrew characters. Image 700 also includes a
A user can click and print one of these extended syllables               search button 704 which can be clicked on with a computer
(such as shown in row set 510) in search box 502. Similarly,             cursor using a computer mouse or any interactive device to
any syllable of any consonant can be located and printed in              cause searching on the Internet or intranet. Alternatively, the
Search box 502.                                                          searchbox 702 and the search button 704 can be replaced with
   FIG. 6 shows an image, menu, or interface 600, which can         45   a web form for sending mail, chatting, blogging, online adver
be displayed on the computer monitor 102 in accordance with              tisement creation etc.
an embodiment of the present invention. The computer pro                   Image 700 also includes a main menu 706, a submenu 708
cessor 104 may be programmed by a computer program to                    and a cursor 710. Menu 706 comprises a plurality of menu
cause the image 600 to be displayed on the computer monitor              items which include a row set of Hebrew punctuation char
102. The computer program may be stored in the computer             50   acters and another row set of Hebrew consonants. There can
memory 106 and may be executed by the computer processor                 be more menu items than shown in the image 700 to include
104. A person or user can interact with the image 600 through            the remaining Hebrew consonants. Each of the menu items
the computer interactive device 108, which may include a                 can be an html table cell, a button, or any GUI (Graphical User
computer mouse, computer keyboard, and the computer                      Interface) component. Menu 708 comprises a column set of
monitor 102 itself (for example, in the case where the com          55   menu items, each of which includes a syllable (vowel dia
puter monitor 102 is a touch screen and receives inputs from             critic) of the Hebrew consonant of menu item 706e shown in
a user).                                                                 the image 700. The particular column set (such as in one
   Image 600 concerns processing of the Arabic language.                 example 708) can comprise more syllables than shown in the
Image 600 includes a searchbox 602 for inputting or entering             image 700. Initially, only menu 706 is displayed along with
or printing Arabic characters. Image 600 also includes a            60   the searchbox 702 and the search button 704. A user can click
search button 604 which can be clicked on with a computer                and print one of these consonants in search box 702 through
cursor using a computer mouse or any interactive device 108              the interactive device 108. When a user places cursor 710
to cause the computer processor 104 to cause searching on the            through the interactive device 108 on a Hebrew consonant
Internet 112 of FIG. 1, or intranet, not shown. Alternatively,           such as shown in menu item 706e, all that consonants syl
the search box 602 and the search button 604 can be replaced        65   lables (vowel diacritics) are displayed as a column set, Such as
with a web form for sending mail, chatting, blogging, online             column set 708, for menu item 706e. A user can click and
advertisement creation etc.                                              print one of these syllables (vowel diacritics) in search box
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702 through the interactive device 108. Similarly, any syllable           Image 900 concerns processing of the French language.
of any consonant can be located and printed in search box              Image 900 includes a search box 902 for inputting or entering
702.                                                                   or printing French characters. Image 900 also includes a
   FIG. 8 shows an image, menu, or interface 800, which can            search button 904 which can be clicked on with a computer
be displayed on the computer monitor 102 in accordance with       5    cursor using a computer mouse orany interactive device. Such
an embodiment of the present invention. The computer pro               as 108, to cause the computer processor 104 to cause search
cessor 104 may be programmed by a computer program to                  ing on the Internet 112 of FIG. 1, or intranet, not shown.
cause the image 800 to be displayed on the computer monitor            Alternatively, the search box. 902 and the search button 904
102. The computer program may be stored in the computer                can be replaced with a web form for sending mail, chatting,
memory 106 and may be executed by the computer processor          10   blogging, online advertisement creation etc.
104. A person or user can interact with the image 800 through             Image 900 also includes a main menu 906, a submenu 908
the computer interactive device 108, which may include a               and a cursor 910. Menu 906 comprises a row set of menu
computer mouse, computer keyboard, and the computer                    items, which include lower case French letters, their ligatures
monitor 102 itself (for example, in the case where the com             and diacritics. There can be more menu items than shown in
puter monitor 102 is a touch screen and receives inputs from      15
                                                                       the image 900 to include the remaining French letters. Each of
a user).                                                               the plurality of menu items can be an html table cell, a button,
   Image 800 concerns processing of the That language.                 or any GUI (Graphical User Interface) component. Menu 908
Image 800 includes a searchbox 802 for inputting or entering           comprises only the upper case letter of the French letter 906l
or printing That characters. Image 800 also includes a search          shown in the image 900. Initially, only menu 906 of lower
button 804 which can be clicked on with a computer cursor              case French alphabet letters is displayed along with the search
using a computer mouse or any interactive device 108 to                box. 902 and the search button 904. A user can click and print
cause the computer processor 104 to cause searching on the             one of these letters in search box 902 using the interactive
Internet, such as 112 in FIG. 1. or intranet, not shown. Alter         device 108. When a user places cursor 910 using the interac
natively, the search box 802 and the search button 804 can be          tive device 108 on a menu item containing a lower case
replaced with a web form for sending mail, chatting, blog         25
                                                                       French letter such as menu item 9061, the particular letter's
ging, online advertisement creation etc.                               upper case letter is displayed as a single character menu 908.
   Image 800 also includes a main menu 806, a submenu 808              A user can click and print this upper case letter in search box
and a cursor 810. Menu 806 comprises a first row set of menu           902 using the interactive device 108.
items, which include That punctuation characters and num                  FIG. 10 shows an image, menu, or interface 1000, which
bers, and a second row set of menu items, which include the       30
                                                                       can be displayed on the computer monitor 102 in accordance
first That vowel mark and consonants. There can be more
menu items than shown in the image 800 to include the                  with an embodiment of the present invention. The computer
remaining That consonants. Each menu item can be an html               processor 104 may be programmed by a computer program to
table cell, a button or any GUI (Graphical User Interface)             cause image 1000 to be displayed on the computer monitor
component. Menu 808 comprises a block of menu items,              35   102. The computer program may be stored in the computer
which include vowel diacritics of the That consonant of menu           memory 106 and may be executed by the computer processor
item 806h shown in the image 800. The block 808 of menu                104. A person or user can interact with the image 1000
items can comprise more vowel diacritics (syllables) than              through the computer interactive device 108, which may
shown in the image 800. Initially, only menu 806 comprising            include a computer mouse, computer keyboard, and the com
That punctuation characters, numbers, the first That vowel        40   puter monitor 102 itself (for example, in the case where the
mark and consonants is displayed along with the search box             computer monitor 102 is a touch screen and receives inputs
802 and the search button 804. A user can click and print one          from a user).
of these characters in search box 802 through the interactive             Image 1000 concerns processing of the Greek language.
device 108. When a user places cursor 810, using the inter             Image1000 includes a searchbox 1002 for inputting or enter
active device 108 on a menu item containing a That conso          45   ing or printing Greek characters. Image 1000 also includes a
nant, such as 806.h, all that consonant's vowel diacritics are         search button 1004 which can be clicked on with a computer
displayed as a block, such as block 808 for menu item 806.h.           cursor using a computer mouse or any interactive device to
A user can click and print one of these vowel diacritics in            cause searching on the Internet or intranet. Alternatively, the
search box 802 through the interactive device 108. Similarly,          search box 1002 and the search button 1004 can be replaced
any vowel diacritic of any consonant can be located and           50   with a web form for sending mail, chatting, blogging, online
printed in search box 802. Also, all That vowel marks can be           advertisement creation etc.
displayed by placing cursor 810 over the menu item contain               Image 1000 also includes a main menu 1006, a submenu
ing the first That Vowel mark. A user can click and print one          1008 and a cursor 1010. Menu 1006 comprises a row set of
of these vowels in search box 802.                                     menu items, which include lower case Greek letters and their
   FIG.9 shows an image, menu, or interface 900, which can        55   diacritics. There can be more menu items than shown in the
be displayed on the computer monitor 102 in accordance with            image 1000 to include the remaining lower case letters. Each
an embodiment of the present invention. The computer pro               of the menu items can be a html table cell, a button or any GUI
cessor 104 may be programmed by a computer program to                  (Graphical User Interface) component. Menu 1008 com
cause the image 900 to be displayed on the computer monitor            prises only the upper case letter of the lower case Greek letter
102. The computer program may be stored in the computer           60   1006i shown in image 1000. Initially, only menu 1006 of
memory 106 and may be executed by the computer processor               lower case Greek letters is displayed along with the search
104. A person or user can interact with the image 900 through          box 1002 and the search button 1004. A user can click and
the computer interactive device 108, which may include a               print one of these letters in search box 1002 using the inter
computer mouse, computer keyboard, and the computer                    active device 108. When a user places cursor 1010 using the
monitor 102 itself (for example, in the case where the com        65   interactive device 108 on a menu item having a lower case
puter monitor 102 is a touch screen and receives inputs from           Greek letter such as 1006i, the upper case letter of the letter of
a user).                                                               the particular menu item is displayed as a single character
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menu 1008. A user can click and print this upper case letter in            There could be several ways of coding dynamic character
search box 1002 using the interactive device 108.                       menus. One way of developing dynamic menus is through
   FIG. 11 shows an image, menu, or interface 1100, which               Dynamic Hypertext Markup Language and a web scripting
can be displayed on the computer monitor 102 in accordance              language Such as JavaScript. Another possibility is through
with an embodiment of the present invention. The computer          5
                                                                        Java Applets. The required non-English characters can be
processor 104 may be programmed by a computer program to                graphically displayed through Unicode numbers or custom
cause image 1100 to be displayed on the computer monitor
102. The computer program may be stored in the computer                 fonts. Non-English characters that are constituted by two or
memory 106 and may be executed by the computer processor                more Unicode numbers can be programmatically constructed
104. A person or user can interact with the image 1100             10   at the processor run time by passing all the constituent Uni
through the computer interactive device 108, which may                  code numbers as arguments of a programming method.
include a computer mouse, computer keyboard, and the com                   This invention finds significant utility in the area of infor
puter monitor 102 itself (for example, in the case where the            mation security for authentication. Access to computer soft
computer monitor 102 is a touch screen and receives inputs              ware applications by their users is controlled through authen
from a user).                                                      15
                                                                        tication mechanism. Application users define their login
   Image 1100 concerns processing of the Russian language.
Image 1100 includes a searchbox 1102 for inputting or enter             credentials such as user-id and password when they first
ing or printing Russian characters. Image 1100 also includes            access an application. Users are required to provide the same
a search button 1104 which can be clicked on with a computer            credentials when they access the same application next time
cursor using a computer mouse or any interactive device to              onwards.
cause searching on the Internet or intranet. Alternatively, the            Today, it is a common practice that application users define
search box 1102 and the search button 1104 can be replaced              their login credentials in English, irrespective of their native
with a web form for sending mail, chatting, blogging, online            language, though English passwords are very weak compared
advertisement creation etc.
  Image 1100 also includes a main menu 1106, a submenu             25   to those defined in Asian languages. In brute-force attacks, an
1108 and a cursor 1110. Menu 1106 comprises a row set of                eight character Chinese password is nearly 1.88x10' times
menu items, which include lower case Russian letters and                stronger than an English password the same length. Chinese
their diacritics. There can be more menu items than shown in            language has more than 20,000 symbols including the base
the image 1100 to include the remaining lower case letters.             radicals and their derivatives. The additional enormous secu
Each of the menu items can be an html table cell, a buttons or     30   rity comes from the large number of Chinese characters and
any GUI (Graphical User Interface) component. Menu 1108                 the possible myriad permutations occurring in the selection of
comprises only the upper case letter of the lower case Russian          eight characters.
letter 1106.h shown in image 1100. Initially, only menu 1106               Considering all conjunct consonants, their vowel deriva
oflower case Russian letters is displayed. A user can click and         tives and modifier combinations, there are nearly 1.8 million
print one of these letters in search box 1102 using the inter      35
                                                                        characters in Hindi. Therefore, an eight character Hindi pass
active device 108. When a user places cursor 1110 using the             word is 8.48x10 times stronger than an English password
interactive device 108 on a menu item having a lower case               the same length. Passwords defined in other Indian languages
Russian letter such as 1106.h., the upper case letter of the            except Tamil may be as strong or stronger thana Hindi pass
particular letter of the particular menu item, is displayed as a
single character menu 1108. A user can click and print this        40   word. Similarly a Korean password is 3.08x10" times as
upper case letter in search box 1102 using the interactive              much stronger than an English password. The Japanese
device 108.                                                             Hiragana, Katakana and Kanji character sets together consist
  The concept of dynamic menus in accordance with at least              of nearly two thousand characters accounting for a security
one embodiment of the present invention, can be applied to              factor of nearly 1.85x10' over English passwords. The fol
any language of the world, irrespective of its type, whether       45   lowing Table. A shows calculations Supporting the security
alphabetic or symbolic.                                                 factors discussed in the two previous paragraphs.

                                                                                                   TABLE A

                                                                                Security Factors for non-English Passwords
                                                                                                                     Permutations
                                                                                                      Permutations        for
                                                                                                           for        8 character Security factor
                                                                                                       8 character      English against brute
                                                        Language No. of total characters               password        password force attacks
                                                        Hindi       1,810,776 (Considering            1.16 x 109     1.36 x 10' 8.48 x 10
                                                                    conjunct characters involving                                   (= 1.16 x 109/
                                                                    any three of 38 consonants,                                     1.36x 10')
                                                                    one of 11 vowels and one of
                                                                    3 modifiers, total characters =
                                                                    38 * 38 * 38* 11 * 3
                                                                    1,810,776)
                                                        Chinese     20,000 (including all Kangxi      2.56 x 103     1.36 x 104 1.88 x 1020
                                                                    radical and their derivative                                    (= 2.56 x 10'?
                                                                    symbols)                                                        1.36x 10')
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                                    23                                                                             24
                                TABLE A-continued
                        Security Factors for non-English Passwords
                                                           Permutations
                                            Permutations        for
                                                 for        8 character Security factor
                                             8 character      English against brute
Language No. of total characters              password       password force attacks
Japanese 2,000 (including Hiragana,          2.52 x 102°    136 x 101° 1.85 x 1012
           Katakana and Kanji                                             (= 2.52 x 102°,
           Characters)                                                    1.36x 10')
Korean     11,970 (including base            4.20 x 102     1.36x 10' 3.08x 108
           consonants and their                                       (= 4.20 x 102,
           syllables)                                                     1.36x 10')


   Although the invention has been described by reference to                              overall plurality of character menu items, disregarding
particular illustrative embodiments thereof, many changes                                 the second plurality of character menu items themselves,
and modifications of the invention may become apparent to                                 other than the first character menu item, and
those skilled in the art without departing from the spirit and                       wherein the second location is separate and apart from the
scope of the invention. It is therefore intended to include                            first location and the second location is adjacent the first
within this patent all such changes and modifications as may                              character menu item;
reasonably and properly be included within the scope of the                          further comprising receiving a second user selection of a
present inventions contribution to the art                                    25        second character menu item of the first plurality of char
  I claim:                                                                                acter menu items, wherein the second user selection is
  1. A method comprising:                                                              received via the computer interactive device:
  displaying on a computer monitor a first plurality of char                         displaying on the computer monitor during a second state,
     acter menu items;                                                                 a second overall plurality of character menu items which
  wherein each character menu item of the first plurality of                           consists of the first plurality of character menu items, a
    character menu items has only one individually select                              third plurality of character menu items, and any second
    able a character of a language;                                                    further character menu items, so that no character menu
  wherein each character menu item of the first plurality of                           items are displayed on the computer monitor during the
    character menu items is displayed in a first location on                           second state other than the second overall plurality of
    the computer monitor,                                                     35       character menu items, and wherein the third plurality of
  wherein each character of each character menu item of the                            character menu items is displayed on the computer
     first plurality of character menu items is a consonant                            monitor during the second state in response to the sec
     character of the language;                                                           ond user selection of the second character menu item;
  further comprising receiving a first user selection of a first                          and
     character menu item of the first plurality of character                 40      wherein each character menu item of the third plurality of
     menu items, wherein the first user selection is received                          character menu items has only one individually select
    via a computer interactive device;                                                 able a character of the language;
  displaying on the computer monitor during a first state a                          wherein each character of each character menu item of the
    first overall plurality of character menu items which                                 third plurality of character menu items is a vowel deriva
    consists of the first plurality of character menu items, a               45           tive of the character of the second character menu item;
    second plurality of character menu items, and any first                          wherein the third plurality of character menu items is dis
     further character menu items, so that no character menu                           played Substantially and directly connected to the sec
     items are displayed on the computer monitor during the                            ond character menu item, and the third plurality of char
     first state other than the first overall plurality of character                   acter menu items is not displayed Substantially and
     menu items, and wherein the second plurality of char                     50       directly connected to any character menu item of the
     acter menu items is displayed on the computer monitor                             second overall plurality of character menu items, disre
     during the first state in response to the first user selection                    garding the third plurality of character menu items them
     of the first character menu item;                                                    selves, other than the second character menu item; and
  wherein each character menu item of the second plurality                           wherein each character menu item of the third plurality of
    of character menu items has only one individually                         55
                                                                                       character menu items is displayed in a third location on
    Selectable a character of the language;                                            the computer monitor, and
  wherein each character menu item of the second plurality                           wherein the first, second, and the third locations are sepa
    of character menu items is displayed in a second location                          rate and apart from each other and the third location is
    on the computer monitor;
  wherein each character of each of the second plurality of                   60       adjacent the second character menu item.
     character menu items is a vowel derivative of the char                          2. The method of claim 1 wherein
     acter of the first character menu item;                                         the second plurality of character menu items is displayed
  wherein the second plurality of character menu items is                              on the computer monitor in a Substantially straight line
    displayed substantially and directly connected to the                              along with the first character menu item in response to
    first character menu item, and the second plurality of                    65          the first user selection; and
    character menu items is not displayed substantially and                          the third plurality of character menu items is displayed on
    directly connected to any character menu item of the first                         the computer monitor in a Substantially straight line
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                           25                                                                         26
    along with the second character menu item in response                  wherein the second location is separate and apart from the
     to the second user selection.                                           first location and the second location is adjacent the first
  3. The method of claim 1 wherein                                           character menu item;
  the first plurality of character menu items is displayed on              further comprising receiving a second user selection of a
    the computer monitor in a row:                                    5       second character menu item of the second plurality of
  the second plurality of character menu items is displayed                  character menu items, wherein the second user selection
    on the computer monitor in a column; and                                 is received via the computer interactive device;
  the third plurality of character menu items is displayed on              displaying on the computer monitor during a second state,
    the computer monitor in a column.                                        a second overall plurality of character menu items which
  4. The method of claim 1 wherein                                    10
                                                                             consists of the first plurality of character menu items, the
  the language is a non-English language.                                    second plurality of character menu items, a third plural
  5. The method of claim 1 further comprising                                ity of character menu items, and any second further
  receiving a third user selection of a particular character                 character menu items, so that no character menu items
     menu item of the first plurality, second plurality, and          15
                                                                             are displayed on the computer monitor during the Sec
     third plurality of character menu items and causing a                   ond state other than the second overall plurality of char
     character of the particular character menu item to be                   acter menu items and wherein the third plurality of char
     displayed in a fourth location on the computer monitor;                 acter menu items is displayed on the computer monitor
  wherein the fourth location is separate and apart from the                 during the second state in response to the second user
    first, second, and third locations.                                      Selection of the second character menu item;
  6. The method of claim 1 wherein                                         wherein each character menu item of the third plurality of
  each of the character menu items of the first, second, and                 character menu items has only one individually select
    third plurality of character menu items is any one of an                 able character of the language;
    hypertext markup language (html) table cell, a button,                 wherein the third plurality of character menu items is dis
    and a graphic user interface component; and                       25     played Substantially and directly connected to the sec
  the first user selection is received via any one of a computer             ond character menu item, and the third plurality of char
    mouse, finger pad of a computer laptop, computer touch                   acter menu items is not displayed Substantially and
    Screen, a button, and a computer stylus on a computer                    directly connected to any character menu item of the
    mobile device.                                                           second overall plurality of character menu items, disre
  7. A method comprising                                              30     garding the third plurality of character menu items them
  displaying on a computer monitor a first plurality of char                 selves, other than the second character menu item;
     acter menu items;                                                     wherein each character menu item of the third plurality of
  wherein each character menu item of the first plurality of                 character menu items is displayed in a third location on
     character menu items has only one individually select                   the computer monitor, and
     able character of a language;                                    35   wherein the first, second, and the third locations are sepa
  wherein each character menu item of the first plurality of                 rate and apart from each other and the third location is
     character menu items is displayed in a first location on                adjacent the second character menu item.
     the computer monitor,                                                 8. The method of claim 7 wherein
  further comprising receiving a first user selection of a first
     character menu item of the first plurality of character          40
                                                                           each of the character menu items of the first plurality of
    menu items, wherein the first user selection is received                 character menu items has any one of a consonant char
    via a computer interactive device;                                       acter, a Vowel, a base radical, a symbol, a lower case
  displaying on the computer monitor during a first state a                  letter, an alphabet name, a digit, a block number, and a
    first overall plurality of character menu items which                    punctuation character of the language.
    consists of the first plurality of character menu items, a        45
                                                                           9. The method of claim 7 wherein
    second plurality of character menu items, and any first                the first plurality of character menu items is displayed on
    further character menu items, so that no character menu                  the computer monitor in a row:
    items are displayed on the computer monitor during the                 the second plurality of character menu items is displayed
    first state other than the first overall plurality of character          on the computer monitor in a column; and
    menu items, and wherein the second plurality of char              50   the third plurality of character menu items is displayed on
    acter menu items is displayed on the computer monitor                    the computer monitor in a row.
    during the first state in response to the first user selection         10. The method of claim 9 wherein
    of the first character menu item;
  wherein each character menu item of the second plurality                 the first plurality of character menu items is displayed on
    of character menu items has only one individually                 55     the computer monitor in a Substantially straight line
    Selectable character of the language;                                    which includes the first character menu item but not the
  wherein the second plurality of character menu items is                    second character menu item;
    displayed substantially and directly connected to the                  the second plurality of character menu items is displayed
    first character menu item, and the second plurality of                   on the computer monitor in response to the first user
    character menu items is not displayed substantially and           60      Selection in a Substantially straight line which includes
    directly connected to any character menu item of the first               the first character menu item and the second character
    overall plurality of character menu items, disregarding                  menu item; and
    the second plurality of character menu items themselves,               the third plurality of character menu items is displayed on
    other than the first character menu item;                                the computer monitor in response to the second user
  wherein each character menu item of the second plurality            65      Selection in a Substantially straight line which includes
    of character menu items is displayed in a second location                the second character menu item but not the first character
    on the computer monitor; and                                             menu item.
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                             27                                                                 28
  11. The method of claim 7 wherein                                   wherein the fifth location is separate and apart from the
  the language is a non-English language.                               first, second, third, and fourth locations.
  12. The method of claim 7 further comprising                        16. The method of claim 14 wherein
  receiving a third user selection of a particular character          the first plurality of character menu items is displayed in a
    menu item of the first plurality, second plurality, and             row in the first location of the computer monitor;
    third plurality of character menu items and causing a             the second plurality of character menu items is displayed in
    character of the particular character menu item to be               any one of a column, a row, and a block in the second
    displayed in a fourth location on the computer monitor;             location of the computer monitor,
  wherein the fourth location is separate and apart from the          the third plurality of character menu items is displayed in
    first, second, and third locations.                          10     any one of a column, a row, and a block in the third
  13. The method of claim 12 further comprising                         location of the computer monitor, and
  searching on the internet using the character of the particu        the fourth plurality of character menu items is displayed in
    lar character menu item.                                            any one of a column, a row, and a block in the third fourth
                                                                        location of the computer monitor.
  14. The method of claim 7 further comprising               15       17. The method of claim 7 wherein
  receiving a third user selection of a third character menu          the first user selection is received from any one of a com
    item of the third plurality of character menu items,                puter mouse, a computer touch screen, a finger pad of a
    wherein the third user selection is received via a com              laptop computer, and a computer keyboard.
     puter interactive device; and                                    18. The method of claim 7 wherein
  in response to the third user selection, displaying on the 20       each character of each character menu item of the first
     computer monitor a fourth plurality of character menu              plurality of character menu items is a consonant charac
    items, wherein the character menu items of the fourth               ter of the language;
    plurality of character menu items are related to the third        wherein each character of each of the second plurality of
    character menu item;                                                character menu items is a vowel derivative of the char
  wherein each character menu item of the fourth plurality of 25        acter of the first character menu item; and
    character menu items has a character of the language;             wherein each character of each of the third plurality of
  wherein each character menu item of the fourth plurality of           character menu items is a double-consonant conjunct
    character menu items is displayed in a fourth location on           derivative of the character of the second character menu
    the computer monitor, and                                           item.
  wherein the first, second, third, and fourth locations are 30       19. The method of claim 7 wherein
    separate and apart from each other and the fourth loca            the first plurality of character menu items is displayed in a
    tion is adjacent the third character menu item.                     row in the first location of the computer monitor;
  15. The method of claim 14 further comprising                       the second plurality of character menu items is displayed in
  receiving a fourth user selection of a particular character 35        any one of a column, a row, and a block in the second
    menu item of the first plurality, second plurality, third           location of the computer monitor, and
    plurality, and fourth plurality of character menu items           the third plurality of character menu items is displayed in
    and causing a character of the particular character menu            any one of a column, a row, and a block in the third
    item to be displayed in a fifth location on the computer            location of the computer monitor.
    monitor,                                                                               k   k   k   k   k
